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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 Gzim Hasangjakaj Granit Hasangjakaj, and
 Gentrid Hasangjakaj, on behalf of themselves
 and others similarly situated in the proposed
 FLSA Collective Action,

                                   Plaintiffs,                      JUDGMENT
        v.                                                          22-cv-02495-RPK-SJB

 A & B Fulton Corp., Dema Balidemic
(a/k/a Dema Balidemaj), Julia Balidemic
(a/k/a Julia Balidemaj), and Amy Balidemic
(a/k/a Amy Balidemaj),
                                    Defendants.
 ---------------------------------------------------------------X
         A notice of acceptance of a Rule 68 Offer of Judgment having been filed on April 14,

2023; and Defendants A & B Fulton Corp., Dema Balidemic (a/k/a Dema Balidemaj), Julia

Balidemic (a/k/a Julia Balidemaj), and Amy Balidemic (a/k/a Amy Balidemaj), having offered to

allow entry of judgment to be taken against them and in favor of Plaintiffs Gzim Hasangjakaj

Granit Hasangjakaj, and Gentrid Hasangjaka, in the total sum of Three Hundred Seventy-Five

Thousand Dollars and Zero Cents ($375,000.00); and an Order of the Honorable Rachel P.

Kovner, United States District Judge, having been filed on April 18, 2023, directing the Clerk of

Court to enter judgment; it is

        ORDERED and ADJUDGED that judgment is entered in favor of Plaintiffs Gzim

Hasangjakaj Granit Hasangjakaj, and Gentrid Hasangjakaj and against Defendants A & B Fulton

Corp., Dema Balidemic (a/k/a Dema Balidemaj), Julia Balidemic (a/k/a Julia Balidemaj), and

Amy Balidemic (a/k/a Amy Balidemaj), in the total sum of Three Hundred Seventy-Five

Thousand Dollars and Zero Cents ($375,000.00) (the “Judgment Amount”), payable as follows:

        1. A payment in the amount of Fifty Thousand Dollars and Zero Cents ($50,000) (the

“Initial Payment”) within ten (10) days of the Court’s entry of the instant Offer of Judgment;
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       2. Twelve (12) installment quarterly payments in the amount of Twenty-Seven Thousand

Eighty-Three Dollars and Thirty-Three Cents ($27,083.33) payable each quarter (the “Quarterly

Installment Payments”), with the first Quarterly Installment Payment payable within three (3)

months following payment of the Initial Payment, and the subsequent Quarterly Installment

Payments payable in three (3) month installments, thereafter.

Dated: Brooklyn, New York                                  Brenna B. Mahoney
       April 19, 2023                                      Clerk of Court

                                                     By:        /s/Jalitza Poveda
                                                                Deputy Clerk
